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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

Inre:

LUCKY’S MARKET PARENT COMPANY,
LLC, et al.,!

Chapter 11

Case No. 20-10166 (JTD)

(Jointly Administered)
Debtors.

 

 

SUPPLEMENTAL DECLARATION OF DAVID ROSENZWEIG IN SUPPORT OF THE

APPLICATION FOR AN ORDER AUTHORIZING THE RETENTION AND
EMPLOYMENT OF NORTON ROSE FULBRIGHT US LLP AS SPECIAL
LITIGATION COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED
CREDITORS NUNC PRO TUNC TO FEBRUARY 4, 2020

I, David Rosenzweig, do hereby declare the following is true and correct to the best of my

knowledge, information and belief:

1. I am a partner in the law firm of Norton Rose Fulbright US LLP (the “Firm” or

“NRFUS”),? and am duly authorized to make this Declaration (the “Supplemental Declaration”)

on behalf of the Firm.

 

The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are Lucky’s Market Parent Company, LLC (2055), Lucky’s Farmers Market Holding Company, LLC
(5480), Lucky’s Market Operating Company, LLC (7064), LFM Stores LLC (3114), Lucky’s Farmers Market,
LP (0828), Lucky’s Farmers Market Resource Center, LLC (7711), Lucky’s Market Holding Company 2, LLC
(0607), Lucky’s Market GP 2, LLC (9335), Lucky’s Market 2, LP (8384), Lucky’s Market of Longmont, LLC
(9789), Lucky’s Farmers Market of Billings, LLC (8088), Lucky’s Farmers Markets of Columbus, LLC (3379),
Lucky’s Farmers Market of Rock Hill, LLC (3386), LFM Jackson, LLC (8300), Lucky’s Farmers Market of Ann
Arbor, LLC (4067), Lucky’s Market of Gainesville, LLC (7877), Lucky’s Market of Bloomington, LLC (3944),
Lucky’s Market of Plantation, LLC (4356), Lucky’s Market of Savannah, GA, LLC (1097), Lucky’s Market of
Traverse, City, LLC (2033), Lucky’s Market of Naples, FL, LLC (8700), and Sinoc, Inc. (0723).

Norton Rose Fulbright US LLP, Norton Rose Fulbright LLP, Norton Rose Fulbright Australia, Norton Rose
Fulbright Canada LLP, Norton Rose Fulbright South Africa (incorporated as Deneys Reitz, Inc.), each of which
is a separate legal entity, are members of Norton Rose Fulbright Verein, a Swiss Verein. Norton Rose Fulbright
Verein helps coordinate the activities of the members but does not itself provide legal services to clients.
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2. I am an attorney admitted to practice law in the court of the State of New York and
the United States District Court for the Southern District of New York. I have filed an application
to be admitted pro hac vice in connection with the above-captioned matter.

3. I submitted a declaration dated February 21, 2010 (the “Initial Declaration”) in
support of the Application for an Order Authorizing the Retention and Employment of Norton Rose
Fulbright US LLP as Special Litigation Counsel for the Official Committee of Unsecured Creditors
Nunc Pro Tunc to February 4, 2020 (the “Application”).? I make this Supplemental Declaration
to apprise the Court of additional information..

4. Except as otherwise set forth herein, all facts set forth in this Supplemental
Declaration are based upon my personal knowledge or derived from information available to me
which I believe to be true and correct. I will supplement this Supplemental Declaration and the
Initial Declaration if pertinent additional information becomes available to me concerning any
relationship between the Firm and the creditors of, or interest holders in, the Debtors.

SUPPLEMENTAL DISCLOSURE

5. As noted in the Application and the Initial Declaration, NRFUS is a member of the
Norton Rose Fulbright Verein (the “Verein”) , a Swiss Verein. There are four additional law firms
based outside of the United States that are members of the Verein.

6. As stated in the Initial Declaration, I used the Firm’s master client database and
conflicts database system to assess potential conflicts. As noted, the Conflict Search Results list
was compiled after reviewing the results generated for all Potential Parties in Interest in NRFUS’s

conflicts database.

 

3 Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Initial Declaration.
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7. In addition to the Conflicts Check in NRFUS’s conflicts database, I have also
caused a separate check for the Debtors and The Kroger Company (“Kroger”) using the master
client databases and conflicts database systems of the other members of the Verein. This additional
check revealed that Norton Rose Fulbright Canada LLP (not the Firm) formerly represented
Kroger in a matter unrelated to the Chapter 11 Cases or the Debtors.

8. Finally, following the filing of the Application, the Firm was retained by two
Potential Parties in Interest in separate, unrelated matters. First, Florida Power & Light (“FPL”)
retained the Firm in matters unrelated to the Chapter 11 Cases or the Debtors. As disclosed in my
Initial Declaration, FPL is a subsidiary of NextEra Energy Resources, LLC, which is a current
client of the Firm in matters unrelated to the Chapter 11 Cases or the Debtors. Second, WCA
Waste Corporation (“WCA Corp.”) retained the Firm in matters unrelated to the Chapter 11 Cases
or the Debtors. I understand that WCA Corp. is the parent of WCA Waste Systems Inc., which
appears on the list of Potential Parties in Interest.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.

Dated: March 3, 2020 () O—

| David Rosenzweig
